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                                                                                  2022 Jun-29 AM 08:55
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA




               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,                    )
ex rel. BILLY JOE HUNT,                      )
                                             )
      PLAINTIFF,                             )
                                             ) CASE NO. 5:13-cv-02168 LCB
VS.                                          )
                                             )
COCHISE CONSULTANCY, INC.,                   )   UNOPPOSED
d/b/a COCHISE SECURITY,                      )
THE PARSONS CORPORATION                      )
d/b/a PARSONS INFRASTRUCTURE                 )
& TECHNOLOGY,                                )

      DEFENDANTS.

           JOINT MOTION TO MODIFY SCHEDULING ORDER

      Pursuant to Federal Rule of Civil Procedure 16(b)(4), the parties jointly

request a one-week extension on the deadline to conduct discovery. Per this

Court’s May 12, 2022 Order (Dkt. No. 173), the deadline to close all discovery is

currently August 11, 2022. The parties hereby respectfully request this Court

amend the current Scheduling Order to allow until August 19, 2022 for the parties

to complete all discovery.




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      Good cause exists for this request. Thus far, the parties have diligently

engaged in discovery and developed a voluminous record. Moreover, the parties

have set an agreed upon schedule for depositions of 22 witnesses. The additional

week afforded by the Court would allow the parties to accomplish all the

anticipated depositions and would not affect any of the other dates currently set.

Thus, the modified discovery schedule and extension of deadlines requested herein

are in the best interests of the parties, justice, and judicial economy, and no party

will be prejudiced by granting this motion or the requested modifications and

extensions.

Dated: June 29, 2022

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 29th day of June, 2022, I electronically filed the

foregoing with the Clerk of the Court using the ECF system, which will send

notification of such filing to all counsel of record.



                                         /s/ Jackson R. Sharman III
                                         OF COUNSEL




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